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                       DISTRICT COURT OF THE VIRGIN ISLANDS
                               DIVISION OF ST. CROIX

BRIANNA HENRY,                            )
                                          )
                  Plaintiff,              )
                                          )
                  v.                      )                 Civil Action No. 2021-0016
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
                  Defendant.              )
__________________________________________)

Attorneys:
Lee J. Rohn, Esq.,
Jennifer Sue Koockogey, Esq.,
St.Croix, U.S.V.I.
       For Plaintiff

Angela Tyson-Floyd, Esq.,
St. Croix, U.S.V.I.
        For Defendant

                                                  ORDER

       THIS MATTER comes before the Court on Plaintiff’s “Motion to Dismiss without

Prejudice” (“Motion to Dismiss”) (Dkt. No. 6), wherein Plaintiff requests that the Court dismiss

the instant action without prejudice. Id. at 1.

       Plaintiff filed the Complaint in the matter in the Virgin Islands Superior Court alleging

claims of negligence against Defendants Jeanine Carbon Thomas and Naita Salmon, two medical

practitioners. (Dkt. No. 1-2). The case was then removed to federal court. (Dkt. No. 1). Defendant

the United States of America moved to substitute itself in lieu of the two named defendants on the

basis that at the time of the acts alleged in the Complaint, Defendants Thomas and Salmon were

acting within the scope of their employment with the Frederiksted Health Center, which is deemed

a Public Health Service entity for purposes of the Federal Tort Claims Act (“FTCA”). (Dkt. No. 2
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at 1). Magistrate Judge George W. Cannon Jr. granted Defendant the United States of America’s

Motion to Substitute. (Dkt. No. 5).

          In the instant Motion to Dismiss, Plaintiff states that she was unaware that the Frederiksted

Health Center was deemed a Public Health Service entity for the purposes of the FTCA and moves

to dismiss this matter without prejudice to allow her to comply with the requirements of the FTCA

prior to bringing suit. (Dkt. No. 6 at 1). Defendant the United States of the America states that it

has no objection to Plaintiff’s Motion to Dismiss. (Dkt. No. 7). Without opining on the merits of

Plaintiff’s legal arguments that undergird her reasons for seeking dismissal of this action, the Court

will grant Plaintiff’s Motion.

          UPON CONSIDERATION of the foregoing, it is hereby

          ORDERED that Plaintiff’s Motion to Dismiss without Prejudice (Dkt. No. 6) is

GRANTED; and it is further

          ORDERED that the instant matter is DISMISSED WITHOUT PREJDUICE; and it is

further

          ORDERED that the Clerk of Court is directed to mark this case CLOSED.

          SO ORDERED.

Date: April 23, 2021                                            ________/s/________
                                                                WILMA A. LEWIS
                                                                Chief Judge




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